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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

MARIA ISABEL PERALES,                            )
                                                 )
           Plaintiff,                            )
                                                 )
v.                                               ) Case No.           11 cv 2056
                                                 )
                                                 )
THE TOWN OF CICERO, LARRY DOMINICK )
President of the TOWN OF CICERO, in his official )
and individual capacity, ANTHONY INIQUEZ, in )
his individual capacity, KATHY ORDMAND, in )
her individual capacity, SERGE ROCHER, in his )
individual capacity,                             )
                                                 )
            Defendants.                          )

                                     NOTICE OF REMOVAL

       Defendants, the Town of Cicero, Larry Dominick, Anthony Iniquez, Kathy Ordmand, and

Serge Rocher, by K. Austin Zimmer of Del Galdo Law Group, LLC, presents this Notice of

Removal, hereby requesting the removal of this case, originally filed in the Circuit Court of

Cook Co., Illinois, to the United States District Court for the Northern District of Illinois, Eastern

Division, pursuant to 28 U.S.C. §§1441 and 1446, and in support state the following grounds:

       1.      On or about February 14th, 2011, Plaintiff filed this cause of action in the Circuit

of Cook County, Illinois, as case No. 2011 L 001672. A copy of Plaintiff’s Complaint is

attached hereto pursuant to 28 U.S.C. § 1446 (a) as Exhibit A.

       2.      On March 11, 2011, a summons and copy of this lawsuit was served on the

Defendants. This Notice is being timely filed within thirty (30) days of service on Defendants.

       3.      Count I of Plaintiff’s Complaint has original jurisdiction under the provision of 28

U.S.C. §§ 1331 and 1343, and is an action which may be removed to this Court by Defendants
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pursuant to the provisions of 28 U.S.C. §§ 1441 and 1443, in that Plaintiff’s Complaint is an

action brought for alleged violations of Plaintiff’s constitutional rights under 42 U.S.C. § 1983.

                                                      Respectfully Submitted,


                                              By:     s/K. Austin Zimmer
                                                      K. Austin Zimmer


K. Austin Zimmer (ARDC No. 6276227)
DEL GALDO LAW GROUP, LLC
1441 South Harlem Avenue
Berwyn, Illinois 60402
T: (708) 222-7000 / F: (708) 222-7001




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